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                                                             1   ARIEL E. STERN, ESQ.
                                                                 Nevada Bar No. 8276
                                                             2
                                                                 NATALIE L. WINSLOW, ESQ.
                                                             3   Nevada Bar No. 12125
                                                                 NICHOLAS E. BELAY, ESQ.
                                                             4   Nevada Bar No. 15175
                                                                 AKERMAN LLP
                                                             5   1635 Village Center Circle, Suite 200
                                                             6   Las Vegas, NV 89134
                                                                 Telephone: (702) 634-5000
                                                             7   Facsimile: (702) 380-8572
                                                                 Email: ariel.stern@akerman.com
                                                             8   Email: natalie.winslow@akerman.com
                                                                 Email: nicholas.belay@akerman.com
                                                             9

                                                            10   Attorneys for NewRez LLC dba Shellpoint
                                                                 Mortgage Servicing
                                                            11
              1635 VILLAGE CENTER CIRCLE, SUITE 200




                                                                                          UNITED STATES BANKRUPTCY COURT
               TEL.: (702) 634-5000 – FAX: (702) 380-8572




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                                                                                                    DISTRICT OF NEVADA
                      LAS VEGAS, NEVADA 89134




                                                            13
AKERMAN LLP




                                                            14   In re:                                            Case No.: 09-29123-bam
                                                                                                                   Chapter 11
                                                            15   MELANI       SCHULTE        and     WILLIAM
                                                                 SCHULTE,
                                                            16                                                     NOTICE OF ASSOCIATION OF
                                                            17   2704 SATTLEY LLC;                                 COUNSEL
                                                                 HOT ENDEAVOR LLC;
                                                            18   1341 MINUET LLC;                                  Jointly Administered with:
                                                                 1708 PLATO PICO LLC;
                                                            19   2228 WARM WALNUT LLC;                             09-27238-BAM
                                                                 9425 VALLEY HILLS LLC;                            09-27909-BAM
                                                            20
                                                                 9500 ASPEN GLOW LLC;                              09-27910-BAM
                                                            21   5218 MISTY MORNING LLC;                           09-27911-BAM
                                                                 CHERISH LLC;                                      09-27912-BAM
                                                            22   SABRECO INC., and                                 09-27913-BAM
                                                                 KEEP SAFE LLC,                                    09-27914-BAM
                                                            23                                                     09-27916-BAM
                                                                                                                   09-28513-BAM
                                                            24
                                                                                                                   09-31584-BAM
                                                            25                                                     09-31585-BAM

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                                                             1
                                                                          Please take notice that Ariel E. Stern, Esq., Natalie L. Winslow, Esq., and Nicholas E. Belay,
                                                             2
                                                                 Esq., of Akerman LLP, have associated with Aldridge Pite, LLP for the purpose of representing
                                                             3
                                                                 NewRez LLC dba Shellpoint Mortgage Servicing.
                                                             4
                                                                          DATED this 18th day of January, 2022.
                                                             5

                                                             6                                                 AKERMAN LLP

                                                             7                                                 /s/ Ariel E Stern
                                                                                                               ARIEL E. STERN, ESQ.
                                                             8                                                 Nevada Bar No. 8276
                                                                                                               NATALIE L. WINSLOW, ESQ.
                                                             9                                                 Nevada Bar No. 12125
                                                            10                                                 NICHOLAS E. BELAY, ESQ.
                                                                                                               Nevada Bar No. 15175
                                                            11                                                 1635 Village Center Circle, Suite 200
                                                                                                               Las Vegas, NV 89134
              1635 VILLAGE CENTER CIRCLE, SUITE 200
               TEL.: (702) 634-5000 – FAX: (702) 380-8572




                                                            12
                                                                                                               Attorneys for NewRez LLC dba Shellpoint Mortgage
                      LAS VEGAS, NEVADA 89134




                                                            13                                                 Servicing
AKERMAN LLP




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                                                                                                CERTIFICATE OF SERVICE
                                                             1
                                                                          1.     On January 18, 2022, I served the following document: NOTICE OF
                                                             2
                                                                 ASSOCIATION OF COUNSEL, I served the above-named document by the following means to
                                                             3
                                                                 the persons as listed below: (Check all that apply)
                                                             4
                                                                                  a.     ECF System - The Court’s CM/ECF systems sends an e-mail notification of
                                                             5            the filing to the parties and counsel of record who are registered with the Court’s CM/ECF
                                                                          system, including the following parties:
                                                             6
                                                                                 Matthew L. Johnson
                                                             7
                                                                                 Johnson & Gubler, P.C.
                                                             8                   8831 West Sahara Avenue
                                                                                 Las Vegas, NV 89117
                                                             9
                                                                                 U.S. Trustee
                                                            10                   Department of Justice
                                                            11                   300 Las Vegas Boulevard, SO.
                                                                                 Suite 4300 Las Vegas, NV 89101
              1635 VILLAGE CENTER CIRCLE, SUITE 200
               TEL.: (702) 634-5000 – FAX: (702) 380-8572




                                                            12
                                                                                 Christopher Patrick Burke
                      LAS VEGAS, NEVADA 89134




                                                            13                   218 S. Maryland Parkway
AKERMAN LLP




                                                                                 Las Vegas, NV 89101
                                                            14
                                                                                 c.     Personal Service - I personally delivered the document(s) to the persons at
                                                            15            these addresses: N/A
                                                            16                  For a party represented by an attorney, delivery was made by handing the
                                                                          document(s) to the attorney or by leaving the documents(s) at the attorney’s office with a
                                                            17            clerk or other person in charge, or if no one is in charge by leaving the documents(s) in a
                                                                          conspicuous place in the office: N/A
                                                            18
                                                                                 For a party, delivery was made by handing the document(s) to the party or by leaving
                                                            19            the document(s)at the person’s dwelling house or usual place of abode with someone of
                                                                          suitable age and discretion residing there: N/A
                                                            20
                                                                                d.     By direct mail (as opposed to through the ECF System)
                                                            21

                                                            22                   Schulte Properties LLC
                                                                                 9811 W. Charleston Blvd Ste 2-351
                                                            23                   Las Vegas, NV 89117

                                                            24                   Melani Schulte
                                                                                 9811 W. Charleston Blvd. #2-351
                                                            25                   Las Vegas, NV 89117
                                                            26                  e.     By fax transmission
                                                            27

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                                                                                f.     By messenger
                                                             1
                                                                          I declare under penalty of perjury that the foregoing is true and correct.
                                                             2
                                                                          Signed on: January 18, 2022.
                                                             3
                                                                                 Carla Llarena                                  /s/ Carla Llarena
                                                             4                (Name of Declarant)                            (Signature of Declarant)
                                                             5

                                                             6

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              1635 VILLAGE CENTER CIRCLE, SUITE 200
               TEL.: (702) 634-5000 – FAX: (702) 380-8572




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                      LAS VEGAS, NEVADA 89134




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AKERMAN LLP




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